          Case: 25-1572         Document: 24     Page: 1        Date Filed: 04/15/2025



                                             OFFICE OF THE CLERK

PATRICIA S. DODSZUWEIT             UNITED STATES COURT OF APPEALS                    TELEPHONE
                                             FOR THE THIRD CIRCUIT                  215-597-2995
          CLERK                        21400 UNITED STATES COURTHOUSE
                                              601 MARKET STREET
                                          PHILADELPHIA, PA 19106-1790
                                       Website: www.ca3.uscourts.gov

                                               April 15, 2025



John E. MacDonald
Constangy Brooks Smith & Prophete
3120 Princeton Pike
Suite 301
Lawrenceville, NJ 08648


RE: Atlas Data Privacy Corp, et al v. Restoration of America, et al
Case Number: 25-1572
District Court Case Number: 1:24-cv-04324

Dear Counsel:

Pursuant to our docketing letter dated March 31, 2025, you were requested electronically file or
complete the following in the above-entitled case:

Appearance Form
Concise Summary of the Case
Disclosure Statement
Information Statement
Transcript Purchase Order Form


The above listed forms must be completed within fourteen (14) days of the date of this letter.
The forms are available at this court's website.

IF YOU FAIL TO COMPLY, THE CASE WILL BE DISMISSED PURSUANT TO 3d Cir.
L.A.R MISC. 107.1(b) and/or 107.2(a).

Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/Laurie
         Case: 25-1572       Document: 24   Page: 2   Date Filed: 04/15/2025




Case Manager
267-299-4936
cc: David Boies, Esq.
Kashif T. Chand, Esq.
Liza B. Fleming, Esq.
Mark C. Mao, Esq.
Eric M. Palmer, Esq.
Rajiv D. Parikh, Esq.
Samantha D. Parrish, Esq.
Adam R. Shaw, Esq.
Michael L. Zuckerman, Esq.
